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10

11   Attorneys for Applicant
     DELORAZE LIMITED
12

13                           UNITED STATES DISTRICT COURT
14                       EASTERN DISTRICT OF CALIFORNIA
15                              SACRAMENTO DIVISION
16   In re Application of:                     ) Case No.
17
                                               )
     DELORAZE LIMITED                          )
18                                             ) DECLARATION OF MICHAEL
                              Applicant        ) JASON LEE IN SUPPORT OF
19
                                               ) DELORAZE LIMITED'S
20   For the Issuance of a Subpoena for the    ) APPLICATION TO CONDUCT
     Taking of a Deposition and the Production ) DISCOVERY PURSUANT TO 28
21   of Documents Under 28 U.S.C. § 1782 to ) U.S.C. § 1782
22   Kotaro Shimogori for Use in Foreign       )
     Proceedings                               )
23                                             )
24                                             )
                                               )
25                                             )
26

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1
              I, Michael Jason Lee, declare:
2
              1.    I am an attorney duly licensed to practice law before all State and
3
     Federal courts in the State of California. I am counsel for Applicant Deloraze Limited
4
     (“Applicant” or "Deloraze") with respect to its Application to Conduct Discovery
5
     Pursuant to 28 U.S.C. § 1782 ("Application").
6
              2.    I have personal knowledge of all facts alleged herein, except as to
7
     matters stated on information and belief, and as to those matters, I believe them to be
8
     true. If called to testify with regard to the facts alleged herein, I could do so
9
     competently.
10
              3.    Deloraze seeks the assistance of the Court to obtain documents and
11
     testimony from Respondent Kotaro Shimogori (“Respondent”).                        As more fully
12
     explained in the Application, Memorandum of Points and Authorities, and
13
     Declaration of Savvas Kousoulos filed contemporaneously herewith, Deloraze
14
     believes Respondent has documents related to deposits of approximately $290,000
15
     that was fraudulently stolen and is presently owed to Deloraze/Deloraze’s merchant
16
     client (“D-Client”) by payment processor, Pan Digital Network Limited (“PDN”).
17
              4.    Once Applicant has the responsive documents and testimony sought vis-
18
     a-vis the proposed subpoenas in-hand, it intends to initiate legal proceedings against
19
     PDN before the High Court of Justice in London (the jurisdiction where PDN is
20
     registered). Deloraze has retained litigation counsel in the United Kingdom for the
21
     purpose of filing a claim against PDN with the High Court of Justice in London.
22
              5.    Respondent Shimogori is a Director of PDN, a UK limited liability
23
     company.1 PDN’s other Director of record is Michael Paul Norton of England, who
24
     was appointed as Director on April 1, 2021. 2
25

26
     1
      Attached as Exhibits 4 and 5, respectively, are true and correct copies of PDN’s Registered
27   Balance Sheet filed with Companies House on September 29, 2023 and PDN’s Appointment of
     Director filed with Companies House on April 1, 2021, reflecting the information referred to in this
28   Paragraph.
                                                       1
                    DECLARATION OF MICHAEL JASON LEE IN SUPPORT OF APPLICATION
         FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782 FOR DISCOVERY FOR USE IN FOREIGN PROCEEDING
          Case 2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 3 of 45


1              6.   Applicant seeks the assistance of this Court in obtaining documents
2    critical to its efforts to recover the funds it is owed. The contemplated discovery is
3    narrowly tailored to the facts and circumstances surrounding Respondent Shimogori’s
4    involvement in the events described herein.
5              7.   Applicant seeks the production of documents concerning (1) D-Client’s
6    transactions and/or the payments owed to Applicant, including but not limited to an
7    itemized reconciliation of all processing inclusive of any debits (discount rates,
8    chargebacks, chargebacks fees) from first day of processing through last (Document
9    Request Nos. 1-18); (2) communications with and documents relating to PDN’s
10   business bank account and merchant account with Equity Bank Limited, including
11   but not limited to PDN’s merchant agreement, documents relating to PDN’s direct
12   processing relationship with Equity Bank Limited, and any agreements that reflect
13   that fees and/or fines would be passed to PDN’s clients, as the merchant of record
14   (Document Request Nos. 19-25); (3) communications with and documents relating to
15   $25,000 of purported Visa-related charges and/or fines relating to Applicant,
16   including, but not limited to the 5 identified transactions PDN claims form the basis
17   for the imposition of said Visa-related charges and/or fines (Document Request No.
18   26); (4) communications with and documents relating to any other fines or fees
19   assessed relating to Applicant’s transactions, including, but not limited to a purported
20   $25,000 “Bank Fine” and $15,000 “Fee to the bank representative” claimed by PDN
21   to have been assessed as a result of said 5 identified transactions (Document Request
22   No. 27). The discovery sought is relevant to determine: (1) the whereabouts of the
23   misappropriated funds owed to Deloraze by PDN; (2) the details behind PDN’s
24   business and merchant account through which more than $290,000 of D-Client’s
25   transactions were processed; and (3) the details behind PDN’s fraudulent payment
26   processing scheme used to misappropriate funds owed to Deloraze and D-Client.
27

28   2
         Id.
                                                   2
                    DECLARATION OF MICHAEL JASON LEE IN SUPPORT OF APPLICATION
         FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782 FOR DISCOVERY FOR USE IN FOREIGN PROCEEDING
       Case 2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 4 of 45


1          8.     On information and belief, the requested documents should not yield a
2    significant volume of documents, and the document requests are narrowly tailored to
3    the allegations underlying the dispute.
4          9.     Attached hereto as Exhibit 1 is a copy of Deloraze's proposed document
5    requests that it intends to seek from Respondent Shimogori.
6          10.    Attached hereto as Exhibit 2 is a true and correct copy of a subpoena to
7    produce documents, information, or objects or to permit inspection of premises in a
8    civil action directed to Respondent Shimogori.
9          11.    Attached hereto as Exhibit 3 is a true and correct copy of a subpoena to
10   testify at a deposition in a civil action directed to Respondent Shimogori.
11         12.    On information and belief, Respondent Shimogori lives, resides and
12   operates PDN out of his residence at 1506 Gorman Drive, Carmichael, California,
13   which is in Sacramento County located in the Eastern District of California,
14   Sacramento Division.
15         I declare under penalty of perjury under the laws of the United States of
16   America that the foregoing is true and correct.
17         Executed this 11TH day of April 2024, in San Diego, California.
18
19
                                               By: /s/ Michael Jason Lee
20                                                  Michael Jason Lee
21

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                                                 3
                 DECLARATION OF MICHAEL JASON LEE IN SUPPORT OF APPLICATION
      FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782 FOR DISCOVERY FOR USE IN FOREIGN PROCEEDING
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                EXHIBIT “1”
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                                            EXHIBIT “A”


                                           DEFINITIONS


         The following definitions are to be used with respect to these documents:

       A.      “ALL” shall mean each, any and all.

        B.       “AUTHPAY” shall mean and refer to AuthPay Ltd, and anyone else acting on its
behalf, which shall include but not be limited to AuthPay Ltd Director, Michael Paul Woolgar-
Norton, a British citizen born in 1971.

       C.       “AUTHPAY BUSINESS BANK ACCOUNTS” shall mean and refer to All
business bank accounts held by AUTHPAY.

        D.      “AUTHPAY MERCHANT ACCOUNTS” shall mean and refer to any and all
business bank accounts that AUTHPAY opened to accept and process electronic payment card
transactions such as debit and credit cards including but not limited to merchant accounts opened
with Equity Bank Limited.

       E.        “BANK RECORDS” shall mean and refer to account statements, signature cards,
account applications, wire transfers (in and out) and any other DOCUMENT evidencing deposits,
withdrawals, balances and/or other account activity.

       F.       “COMMUNICATION(S)” shall mean any dissemination of information by
transmission or a statement from one person to another or in the presence of another, whether by
writing, orally or by action or conduct, including but not limited to, written notes, electronic
communications with attachments, verbal conversations and visual notations.

        G.       “DELORAZE” shall mean and refer to Deloraze Limited, Deloraze Limited’s
clients and customers, and anyone else acting on their behalf.

        H.       “DESCRIPTOR” shall mean and refer to the following merchant descriptor or
billing descriptor appearing on a cardholder’s credit and/or debit card statement: (1) PocketGym; (2)
DataWhizz; (3) Whizz. (The actual descriptor used may sometimes vary slightly but are
substantively the same. For example, “PocketGym” may also appear as “Pocket Gym” and
“DataWhizz” may also appear as “Data Whizz.” A substantively identical descriptor with a slight
variation(s) from that listed here shall be deemed to be one of the same.)

       I.         “DOCUMENT” is defined to be synonymous in meaning and equal in scope to the
usage of this term in Federal Rules of Civil Procedure 34(a) and shall mean any and all information in
tangible or other form, whether printed, typed, recorded, computerized, filmed, reproduced by any
process or written or produced by hand and whether an original, draft, master, duplicate or copy or
notated version thereof, that is in your possession, custody or control. A draft or non- identical copy




                                                   1
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is a separate document within the meaning of this term.

        J.        “DOCUMENT” as used in this Subpoena shall also include, but not be limited to,
electronic files, other data generated by and/or stored on or through any of your computer systems
and storage media (e.g., internal or external hard drives, CD-ROM’s, floppy disks, backup tapes,
thumb drives, internet-based posting boards or any other data storage media or mechanisms) or any
other electronic data. This includes, but is not limited to: email and other electronic communications
(e.g., postings to internet forums, ICQ or any other instant messenger messages and/or text
messages); voicemails; word processing documents; spreadsheets; databases; calendars; telephone
logs; contact manager information; Internet usage files; offline storage or information stored on
removable media; information contained on laptops or other portable devices; and network access
information. Further, this includes data in any format for storing electronic data.

       K.      "IDENTIFY," with respect to banking account information, means to provide (a) the
vesting/full name on the account, (b) account number, (c) names of authorized signers on the
account, (d) address of bank branch where each account was opened and (e) date each account was
opened.

       L.      "MID" shall mean and refer to Merchant Identification Number.

        M.       “PDN” shall mean and refer to Pan Digital Network Limited, and anyone else acting
on its behalf, which shall include but not be limited to SHIMOGORI, PDN Director Michael Paul
Norton (a British citizen born in 1971), and former PDN Director Shah Imraul Kaeesh.

       N.       “PDN BUSINESS BANK ACCOUNTS” shall mean and refer to All business bank
accounts held by PDN.

        O.      "PDN REPRESENTATIVE” shall mean and refer to any individuals or entities
acting on PDN’s behalf, which shall include, but not be limited to the following PDN’s employees,
agents, representatives, and/or contractors, including any individuals who use the following Skype
member accounts:

                     1.       Matthew - xiryll29;
                     2.       Leon - live:.cid.46de62b1577fc5d2;
                     3.       Hipolito - live:.cid.4898d7694114cd07;
                     4.       Ferdinand - live:.cid.c084b2c404175c9f;
                     5.       Ers – live:.cid.bba2d7abe59ea9e7;
                     6.       Ericka - live:.cid.1605f4e408f12644;
                     7.       Chloe – live:.cid.f44f1070a40f886b;
                     8.       Cha – live:.cid.39a97244b7dc033f; and
                     9.       Carl - live:.cid.783b77ae4d2c5ad5.

        P.      “PDN MERCHANT ACCOUNTS” shall mean and refer to any and all business
bank accounts that PDN opened itself or outsourced to others such as AUTHPAY LTD to open to
accept and process electronic payment card transactions such as debit and credit cards including but
not limited to merchant accounts opened with Equity Bank Limited.




                                                   2
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       Q.       “SHIMOGORI” shall mean and refer to Kotari Shimogori, Director of PDN.

       R.     “RELEVANT TIME PERIOD” shall mean and refer to PDN’s first day of
processing DELORAZE payments through PDN’s last day of processing DELORAZE payments.

       S.     "5 IDENTIFIED TRANSACTIONS” shall mean and refer to the purported Visa
“Global Brand Protection Program” letters provided by PDN to DELORAZE reflecting the
following:

                    1. Case ID 26221 regarding merchant name “PocketGym”;

                    2. Case ID 26222 regarding merchant name “PocketGym”;

                    3. Case ID 26223 regarding merchant name “PocketGym”;

                    4. Case ID 26224 regarding merchant name “PocketGym”; and

                    5. Case ID 26228 regarding merchant name “PocketGym”.

      T.      The singular shall include the plural and the plural shall include the singular. The
 conjunctive “and” shall include the disjunctive “or” and the disjunctive “or” shall include the
 conjunctive “and.”

       U.       Each Document produced shall be produced as it is kept in the usual course of
 business (i.e., in the file folder or binder in which such Documents were located when the request
 was served) or shall be organized and labeled to correspond to the categories of Documents
 requested.

       V.       You are instructed to produce any and all Documents which are in your possession,
 custody or control. Possession, custody or control includes constructive possession whereby you
 have a right to compel the production of a matter from a third party (including an agency, authority
 or representative).

       W.       To the extent the location of any Document called for by this Exhibit is unknown to
 you, so state. If any estimate can reasonably be made as to the location of an unknown Document,
 describe the Document with sufficient particularity so that it can be identified, set forth your best
 estimate of the Document’s location and describe the basis upon which the estimate is made.

      X.      If any Document request is deemed to call for disclosure of proprietary data, counsel
 for movant is prepared to receive such data pursuant to an appropriate confidentiality order.

        Y.     To the extent the production of any Document is objected to on the basis of privilege,
 provide the following information about each such document: (1) describe the nature of the
 privilege claimed (e.g., attorney-client, work product, etc.); (2) state the factual and legal basis for
 the claim of such privilege (e.g., communication between attorney for corporation and outside
 counsel relating to acquisition of legal services); (3) identify each person who was present when




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the document was prepared and who has seen the Document; and (4) identify every other
Document which refers to or describes the contents of such Document.

      Z.      If any document has been lost or destroyed, the Document so lost or destroyed shall
be identified by author, date, subject matter, date of loss or destruction, identity of person
responsible for loss or destruction and, if destroyed, the reason for such destruction.




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                                   ITEMS TO BE PRODUCED



       1.       ALL COMMUNICATIONS with any individual or entity referring to, or relating
to payments owed or made to or for DELORAZE.

       2.       ALL DOCUMENTS concerning, referring to, or relating to any applications,
agreements, contracts, arrangements, understandings or confirmations – whether signed or unsigned

– with any bank, processor, other company or individual concerning, referring to, or relating to
payments made to or for DELORAZE.

       3.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to funds, or the whereabouts of any funds, received or controlled by PDN, AUTHPAY
or SHIMOGORI from any individual or entity – including but in no way limited to an acquiring

bank, processor, reseller, intermediary, merchant of record with the acquiring bank or otherwise –
that correspond or relate to any credit or debit card transactions relating to DELORAZE, including

any transactions of its underlying merchants.

       4.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or reflecting any debits - including but not limited to discount rates, chargebacks, chargeback fees,
refunds, fines, fees or penalties - corresponding to any DELORAZE transactions, including any

transactions of its underlying merchants.

       5.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to any reconciliation, statements or accounting of any merchant account or MID through
which any DELORAZE credit or debit transaction, including any transactions of its underlying

merchants, was processed.

       6.       ALL BANK RECORDS reflecting transfers to the PDN BUSINESS BANK

ACCOUNTS during the RELEVANT TIME PERIOD.




                                                  5
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       7.      DOCUMENTS sufficient to identify each bank, processor, other company or
individual from whom PDN received any funds remitted to the PDN BUSINESS BANK

ACCOUNTS during the RELEVANT TIME PERIOD.

       8.      ALL COMMUNICATIONS concerning, referring to or relating to transfers to the
PDN BUSINESS BANK ACCOUNTS during the RELEVANT TIME PERIOD.

       9.      ALL BANK RECORDS reflecting transfers to the AUTHPAY BUSINESS BANK
ACCOUNTS during the RELEVANT TIME PERIOD.

       10.     DOCUMENTS sufficient to identify each bank, processor, other company or
individual from whom PDN received any funds remitted to the AUTHPAY BUSINESS BANK
ACCOUNTS during the RELEVANT TIME PERIOD.

       11.     ALL COMMUNICATIONS concerning, referring to or relating to transfers to the
AUTHPAY BUSINESS BANK ACCOUNTS during the RELEVANT TIME PERIOD.

       12.     ALL COMMUNICATIONS between or among PDN and/or SHIMOGORI and/or
PDN REPRESENTATIVES and/or AUTHPAY during the RELEVANT TIME PERIOD.

       13.     ALL DOCUMENTS constituting any agreements, contracts, arrangements,

understandings or confirmations with PDN and/or SHIMOGORI and/or AUTHPAY.

       14.     ALL DOCUMENTS reflecting any transfer of funds – whether by wire transfer or

otherwise – to or from PDN, SHIMOGORI, and/or AUTHPAY from the date of the first transaction
for DELORAZE to present.

       15.     ALL COMMUNICATIONS with any individual or entity referring to, or relating
to payments owed or made to or for DELORAZE.

       16.     ALL DOCUMENTS concerning, referring to, or relating to any applications,
agreements, contracts, arrangements, understandings or confirmations-whether signed or unsigned-
with any bank, processor, other company or individual concerning, referring to, or relating to

payments made to or for DELORAZE.




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       17.       ALL DOCUMENTS concerning or relating to PDN or AUTHPAY’s processing of
any debit and/or credit card transactions for DELORAZE, PDN, A U T H P A Y a n d / o r

SHIMOGORI, during the RELEVANT TIME PERIOD.
       18.       ALL DOCUMENTS concerning or relating to the transfer of any funds
corresponding to any debit and/or credit card transaction for DELORAZE, PDN, A U T H P A Y

a n d / o r SHIMOGORI during the RELEVANT TIME PERIOD.
       19.       ALL COMMUNICATIONS concerning, referring to or relating to, PDN

BUSINESS BANK ACCOUNTS from January 1, 2023 to present.
       20.       ALL BANK RECORDS associated with PDN MERCHANT ACCOUNTS from
January 1, 2023 to present.

       21.       ALL DOCUMENTS concerning or related to any application and/or supporting
materials submitted to Equity Bank Limited for the purpose of opening any of the PDN

MERCHANT ACCOUNTS.
       22.       ALL COMMUNICATIONS concerning, referring to or relating to, AUTHPAY
BUSINESS BANK ACCOUNTS from January 1, 2023 to present.

       23.       ALL BANK RECORDS associated with AUTHPAY MERCHANT ACCOUNTS
from January 1, 2023 to present.

       24.       ALL DOCUMENTS concerning or related to any application and/or supporting
materials submitted to Equity Bank Limited for the purpose of opening any of the AUTHPAY

MERCHANT ACCOUNTS.

       25.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to or
relating to PDN's business bank account and/or merchant account with Equity Bank Limited,

including but not limited to PDN's merchant agreement, AUTHPAY’s merchant agreement,
documents relating to PDN and/or AUTHPAY's direct processing relationship with Equity Bank
Limited, and any agreements that reflect any fees and/or fines that would be passed to clients, such

as DELORAZE and DELORAZE’s underlying merchants, as the merchants of record.




                                                  7
     Case 2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 13 of 45


       26.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to any $25,000 Visa-related fees and/or fines relating to DELORAZE transactions during

the RELEVANT TIME PERIOD, including, but not limited any of the 5 IDENTIFIED
TRANSACTIONS.

       27.       ALL DOCUMENTS, including communications with and DOCUMENTS relating
to any other fines or fees assessed relating to Applicant's transactions, including, but not limited to
a purported $25,000 "Bank Fine" and $15,000 "Fee to the bank representative" claimed by PDN to

have been assessed as a result of the 5 IDENTIFIED TRANSACTIONS.




                                                   8
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                EXHIBIT “ ”
               Case 2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 15 of 45
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________ Districtofof
                                                                             California
                                                                               __________

                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                           OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 16 of 45
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                Case 2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 17 of 45
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            EXHIBIT “A”


                                           DEFINITIONS


         The following definitions are to be used with respect to these documents:

       A.      “ALL” shall mean each, any and all.

        B.       “AUTHPAY” shall mean and refer to AuthPay Ltd, and anyone else acting on its
behalf, which shall include but not be limited to AuthPay Ltd Director, Michael Paul Woolgar-
Norton, a British citizen born in 1971.

       C.       “AUTHPAY BUSINESS BANK ACCOUNTS” shall mean and refer to All
business bank accounts held by AUTHPAY.

        D.      “AUTHPAY MERCHANT ACCOUNTS” shall mean and refer to any and all
business bank accounts that AUTHPAY opened to accept and process electronic payment card
transactions such as debit and credit cards including but not limited to merchant accounts opened
with Equity Bank Limited.

       E.        “BANK RECORDS” shall mean and refer to account statements, signature cards,
account applications, wire transfers (in and out) and any other DOCUMENT evidencing deposits,
withdrawals, balances and/or other account activity.

       F.       “COMMUNICATION(S)” shall mean any dissemination of information by
transmission or a statement from one person to another or in the presence of another, whether by
writing, orally or by action or conduct, including but not limited to, written notes, electronic
communications with attachments, verbal conversations and visual notations.

        G.       “DELORAZE” shall mean and refer to Deloraze Limited, Deloraze Limited’s
clients and customers, and anyone else acting on their behalf.

        H.       “DESCRIPTOR” shall mean and refer to the following merchant descriptor or
billing descriptor appearing on a cardholder’s credit and/or debit card statement: (1) PocketGym; (2)
DataWhizz; (3) Whizz. (The actual descriptor used may sometimes vary slightly but are
substantively the same. For example, “PocketGym” may also appear as “Pocket Gym” and
“DataWhizz” may also appear as “Data Whizz.” A substantively identical descriptor with a slight
variation(s) from that listed here shall be deemed to be one of the same.)

       I.         “DOCUMENT” is defined to be synonymous in meaning and equal in scope to the
usage of this term in Federal Rules of Civil Procedure 34(a) and shall mean any and all information in
tangible or other form, whether printed, typed, recorded, computerized, filmed, reproduced by any
process or written or produced by hand and whether an original, draft, master, duplicate or copy or
notated version thereof, that is in your possession, custody or control. A draft or non- identical copy




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is a separate document within the meaning of this term.

        J.        “DOCUMENT” as used in this Subpoena shall also include, but not be limited to,
electronic files, other data generated by and/or stored on or through any of your computer systems
and storage media (e.g., internal or external hard drives, CD-ROM’s, floppy disks, backup tapes,
thumb drives, internet-based posting boards or any other data storage media or mechanisms) or any
other electronic data. This includes, but is not limited to: email and other electronic communications
(e.g., postings to internet forums, ICQ or any other instant messenger messages and/or text
messages); voicemails; word processing documents; spreadsheets; databases; calendars; telephone
logs; contact manager information; Internet usage files; offline storage or information stored on
removable media; information contained on laptops or other portable devices; and network access
information. Further, this includes data in any format for storing electronic data.

       K.      "IDENTIFY," with respect to banking account information, means to provide (a) the
vesting/full name on the account, (b) account number, (c) names of authorized signers on the
account, (d) address of bank branch where each account was opened and (e) date each account was
opened.

       L.      "MID" shall mean and refer to Merchant Identification Number.

        M.       “PDN” shall mean and refer to Pan Digital Network Limited, and anyone else acting
on its behalf, which shall include but not be limited to SHIMOGORI, PDN Director Michael Paul
Norton (a British citizen born in 1971), and former PDN Director Shah Imraul Kaeesh.

       N.       “PDN BUSINESS BANK ACCOUNTS” shall mean and refer to All business bank
accounts held by PDN.

        O.      "PDN REPRESENTATIVE” shall mean and refer to any individuals or entities
acting on PDN’s behalf, which shall include, but not be limited to the following PDN’s employees,
agents, representatives, and/or contractors, including any individuals who use the following Skype
member accounts:

                     1.       Matthew - xiryll29;
                     2.       Leon - live:.cid.46de62b1577fc5d2;
                     3.       Hipolito - live:.cid.4898d7694114cd07;
                     4.       Ferdinand - live:.cid.c084b2c404175c9f;
                     5.       Ers – live:.cid.bba2d7abe59ea9e7;
                     6.       Ericka - live:.cid.1605f4e408f12644;
                     7.       Chloe – live:.cid.f44f1070a40f886b;
                     8.       Cha – live:.cid.39a97244b7dc033f; and
                     9.       Carl - live:.cid.783b77ae4d2c5ad5.

        P.      “PDN MERCHANT ACCOUNTS” shall mean and refer to any and all business
bank accounts that PDN opened itself or outsourced to others such as AUTHPAY LTD to open to
accept and process electronic payment card transactions such as debit and credit cards including but
not limited to merchant accounts opened with Equity Bank Limited.




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       Q.       “SHIMOGORI” shall mean and refer to Kotari Shimogori, Director of PDN.

       R.     “RELEVANT TIME PERIOD” shall mean and refer to PDN’s first day of
processing DELORAZE payments through PDN’s last day of processing DELORAZE payments.

       S.     "5 IDENTIFIED TRANSACTIONS” shall mean and refer to the purported Visa
“Global Brand Protection Program” letters provided by PDN to DELORAZE reflecting the
following:

                    1. Case ID 26221 regarding merchant name “PocketGym”;

                    2. Case ID 26222 regarding merchant name “PocketGym”;

                    3. Case ID 26223 regarding merchant name “PocketGym”;

                    4. Case ID 26224 regarding merchant name “PocketGym”; and

                    5. Case ID 26228 regarding merchant name “PocketGym”.

      T.      The singular shall include the plural and the plural shall include the singular. The
 conjunctive “and” shall include the disjunctive “or” and the disjunctive “or” shall include the
 conjunctive “and.”

       U.       Each Document produced shall be produced as it is kept in the usual course of
 business (i.e., in the file folder or binder in which such Documents were located when the request
 was served) or shall be organized and labeled to correspond to the categories of Documents
 requested.

       V.       You are instructed to produce any and all Documents which are in your possession,
 custody or control. Possession, custody or control includes constructive possession whereby you
 have a right to compel the production of a matter from a third party (including an agency, authority
 or representative).

       W.       To the extent the location of any Document called for by this Exhibit is unknown to
 you, so state. If any estimate can reasonably be made as to the location of an unknown Document,
 describe the Document with sufficient particularity so that it can be identified, set forth your best
 estimate of the Document’s location and describe the basis upon which the estimate is made.

      X.      If any Document request is deemed to call for disclosure of proprietary data, counsel
 for movant is prepared to receive such data pursuant to an appropriate confidentiality order.

        Y.     To the extent the production of any Document is objected to on the basis of privilege,
 provide the following information about each such document: (1) describe the nature of the
 privilege claimed (e.g., attorney-client, work product, etc.); (2) state the factual and legal basis for
 the claim of such privilege (e.g., communication between attorney for corporation and outside
 counsel relating to acquisition of legal services); (3) identify each person who was present when




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the document was prepared and who has seen the Document; and (4) identify every other
Document which refers to or describes the contents of such Document.

      Z.      If any document has been lost or destroyed, the Document so lost or destroyed shall
be identified by author, date, subject matter, date of loss or destruction, identity of person
responsible for loss or destruction and, if destroyed, the reason for such destruction.




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                                   ITEMS TO BE PRODUCED



       1.       ALL COMMUNICATIONS with any individual or entity referring to, or relating
to payments owed or made to or for DELORAZE.

       2.       ALL DOCUMENTS concerning, referring to, or relating to any applications,
agreements, contracts, arrangements, understandings or confirmations – whether signed or unsigned

– with any bank, processor, other company or individual concerning, referring to, or relating to
payments made to or for DELORAZE.

       3.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to funds, or the whereabouts of any funds, received or controlled by PDN, AUTHPAY
or SHIMOGORI from any individual or entity – including but in no way limited to an acquiring

bank, processor, reseller, intermediary, merchant of record with the acquiring bank or otherwise –
that correspond or relate to any credit or debit card transactions relating to DELORAZE, including

any transactions of its underlying merchants.

       4.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or reflecting any debits - including but not limited to discount rates, chargebacks, chargeback fees,
refunds, fines, fees or penalties - corresponding to any DELORAZE transactions, including any

transactions of its underlying merchants.

       5.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to any reconciliation, statements or accounting of any merchant account or MID through
which any DELORAZE credit or debit transaction, including any transactions of its underlying

merchants, was processed.

       6.       ALL BANK RECORDS reflecting transfers to the PDN BUSINESS BANK

ACCOUNTS during the RELEVANT TIME PERIOD.




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       7.      DOCUMENTS sufficient to identify each bank, processor, other company or
individual from whom PDN received any funds remitted to the PDN BUSINESS BANK

ACCOUNTS during the RELEVANT TIME PERIOD.

       8.      ALL COMMUNICATIONS concerning, referring to or relating to transfers to the
PDN BUSINESS BANK ACCOUNTS during the RELEVANT TIME PERIOD.

       9.      ALL BANK RECORDS reflecting transfers to the AUTHPAY BUSINESS BANK
ACCOUNTS during the RELEVANT TIME PERIOD.

       10.     DOCUMENTS sufficient to identify each bank, processor, other company or
individual from whom PDN received any funds remitted to the AUTHPAY BUSINESS BANK
ACCOUNTS during the RELEVANT TIME PERIOD.

       11.     ALL COMMUNICATIONS concerning, referring to or relating to transfers to the
AUTHPAY BUSINESS BANK ACCOUNTS during the RELEVANT TIME PERIOD.

       12.     ALL COMMUNICATIONS between or among PDN and/or SHIMOGORI and/or
PDN REPRESENTATIVES and/or AUTHPAY during the RELEVANT TIME PERIOD.

       13.     ALL DOCUMENTS constituting any agreements, contracts, arrangements,

understandings or confirmations with PDN and/or SHIMOGORI and/or AUTHPAY.

       14.     ALL DOCUMENTS reflecting any transfer of funds – whether by wire transfer or

otherwise – to or from PDN, SHIMOGORI, and/or AUTHPAY from the date of the first transaction
for DELORAZE to present.

       15.     ALL COMMUNICATIONS with any individual or entity referring to, or relating
to payments owed or made to or for DELORAZE.

       16.     ALL DOCUMENTS concerning, referring to, or relating to any applications,
agreements, contracts, arrangements, understandings or confirmations-whether signed or unsigned-
with any bank, processor, other company or individual concerning, referring to, or relating to

payments made to or for DELORAZE.




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       17.       ALL DOCUMENTS concerning or relating to PDN or AUTHPAY’s processing of
any debit and/or credit card transactions for DELORAZE, PDN, A U T H P A Y a n d / o r

SHIMOGORI, during the RELEVANT TIME PERIOD.
       18.       ALL DOCUMENTS concerning or relating to the transfer of any funds
corresponding to any debit and/or credit card transaction for DELORAZE, PDN, A U T H P A Y

a n d / o r SHIMOGORI during the RELEVANT TIME PERIOD.
       19.       ALL COMMUNICATIONS concerning, referring to or relating to, PDN

BUSINESS BANK ACCOUNTS from January 1, 2023 to present.
       20.       ALL BANK RECORDS associated with PDN MERCHANT ACCOUNTS from
January 1, 2023 to present.

       21.       ALL DOCUMENTS concerning or related to any application and/or supporting
materials submitted to Equity Bank Limited for the purpose of opening any of the PDN

MERCHANT ACCOUNTS.
       22.       ALL COMMUNICATIONS concerning, referring to or relating to, AUTHPAY
BUSINESS BANK ACCOUNTS from January 1, 2023 to present.

       23.       ALL BANK RECORDS associated with AUTHPAY MERCHANT ACCOUNTS
from January 1, 2023 to present.

       24.       ALL DOCUMENTS concerning or related to any application and/or supporting
materials submitted to Equity Bank Limited for the purpose of opening any of the AUTHPAY

MERCHANT ACCOUNTS.

       25.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to or
relating to PDN's business bank account and/or merchant account with Equity Bank Limited,

including but not limited to PDN's merchant agreement, AUTHPAY’s merchant agreement,
documents relating to PDN and/or AUTHPAY's direct processing relationship with Equity Bank
Limited, and any agreements that reflect any fees and/or fines that would be passed to clients, such

as DELORAZE and DELORAZE’s underlying merchants, as the merchants of record.




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       26.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to any $25,000 Visa-related fees and/or fines relating to DELORAZE transactions during

the RELEVANT TIME PERIOD, including, but not limited any of the 5 IDENTIFIED
TRANSACTIONS.

       27.       ALL DOCUMENTS, including communications with and DOCUMENTS relating
to any other fines or fees assessed relating to Applicant's transactions, including, but not limited to
a purported $25,000 "Bank Fine" and $15,000 "Fee to the bank representative" claimed by PDN to

have been assessed as a result of the 5 IDENTIFIED TRANSACTIONS.




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                EXHIBIT “ ”
AO 88A (Rev.
               Case    2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 27 of 45
                / ) Subpoena to Testify at a Deposition in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Eastern District
                                                __________  Districtofof
                                                                       California
                                                                         __________

                                                                     )
                         Plaintiff                                   )
                            v.                                       )     Civil Action No.
                                                                     )
                                                                     )
                        Defendant                                    )

                        SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

                                               (Name of person to whom this subpoena is directed)




 Place:                                                                      Date and Time:


          The deposition will be recorded by this method:

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                            CLERK OF COURT
                                                                               OR

                                     Signature of Clerk or Deputy Clerk                             Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                   on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                         .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                      .

My fees are $                                    for travel and $                      for services, for a total of $    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional information regarding attempted service, etc.:
                Case 2:24-mc-00159-DAD-CKD Document 1-3 Filed 04/11/24 Page 29 of 45
AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            EXHIBIT “A”


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Norton, a British citizen born in 1971.

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business bank accounts held by AUTHPAY.

        D.      “AUTHPAY MERCHANT ACCOUNTS” shall mean and refer to any and all
business bank accounts that AUTHPAY opened to accept and process electronic payment card
transactions such as debit and credit cards including but not limited to merchant accounts opened
with Equity Bank Limited.

       E.        “BANK RECORDS” shall mean and refer to account statements, signature cards,
account applications, wire transfers (in and out) and any other DOCUMENT evidencing deposits,
withdrawals, balances and/or other account activity.

       F.       “COMMUNICATION(S)” shall mean any dissemination of information by
transmission or a statement from one person to another or in the presence of another, whether by
writing, orally or by action or conduct, including but not limited to, written notes, electronic
communications with attachments, verbal conversations and visual notations.

        G.       “DELORAZE” shall mean and refer to Deloraze Limited, Deloraze Limited’s
clients and customers, and anyone else acting on their behalf.

        H.       “DESCRIPTOR” shall mean and refer to the following merchant descriptor or
billing descriptor appearing on a cardholder’s credit and/or debit card statement: (1) PocketGym; (2)
DataWhizz; (3) Whizz. (The actual descriptor used may sometimes vary slightly but are
substantively the same. For example, “PocketGym” may also appear as “Pocket Gym” and
“DataWhizz” may also appear as “Data Whizz.” A substantively identical descriptor with a slight
variation(s) from that listed here shall be deemed to be one of the same.)

       I.         “DOCUMENT” is defined to be synonymous in meaning and equal in scope to the
usage of this term in Federal Rules of Civil Procedure 34(a) and shall mean any and all information in
tangible or other form, whether printed, typed, recorded, computerized, filmed, reproduced by any
process or written or produced by hand and whether an original, draft, master, duplicate or copy or
notated version thereof, that is in your possession, custody or control. A draft or non- identical copy




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is a separate document within the meaning of this term.

        J.        “DOCUMENT” as used in this Subpoena shall also include, but not be limited to,
electronic files, other data generated by and/or stored on or through any of your computer systems
and storage media (e.g., internal or external hard drives, CD-ROM’s, floppy disks, backup tapes,
thumb drives, internet-based posting boards or any other data storage media or mechanisms) or any
other electronic data. This includes, but is not limited to: email and other electronic communications
(e.g., postings to internet forums, ICQ or any other instant messenger messages and/or text
messages); voicemails; word processing documents; spreadsheets; databases; calendars; telephone
logs; contact manager information; Internet usage files; offline storage or information stored on
removable media; information contained on laptops or other portable devices; and network access
information. Further, this includes data in any format for storing electronic data.

       K.      "IDENTIFY," with respect to banking account information, means to provide (a) the
vesting/full name on the account, (b) account number, (c) names of authorized signers on the
account, (d) address of bank branch where each account was opened and (e) date each account was
opened.

       L.      "MID" shall mean and refer to Merchant Identification Number.

        M.       “PDN” shall mean and refer to Pan Digital Network Limited, and anyone else acting
on its behalf, which shall include but not be limited to SHIMOGORI, PDN Director Michael Paul
Norton (a British citizen born in 1971), and former PDN Director Shah Imraul Kaeesh.

       N.       “PDN BUSINESS BANK ACCOUNTS” shall mean and refer to All business bank
accounts held by PDN.

        O.      "PDN REPRESENTATIVE” shall mean and refer to any individuals or entities
acting on PDN’s behalf, which shall include, but not be limited to the following PDN’s employees,
agents, representatives, and/or contractors, including any individuals who use the following Skype
member accounts:

                     1.       Matthew - xiryll29;
                     2.       Leon - live:.cid.46de62b1577fc5d2;
                     3.       Hipolito - live:.cid.4898d7694114cd07;
                     4.       Ferdinand - live:.cid.c084b2c404175c9f;
                     5.       Ers – live:.cid.bba2d7abe59ea9e7;
                     6.       Ericka - live:.cid.1605f4e408f12644;
                     7.       Chloe – live:.cid.f44f1070a40f886b;
                     8.       Cha – live:.cid.39a97244b7dc033f; and
                     9.       Carl - live:.cid.783b77ae4d2c5ad5.

        P.      “PDN MERCHANT ACCOUNTS” shall mean and refer to any and all business
bank accounts that PDN opened itself or outsourced to others such as AUTHPAY LTD to open to
accept and process electronic payment card transactions such as debit and credit cards including but
not limited to merchant accounts opened with Equity Bank Limited.




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       Q.       “SHIMOGORI” shall mean and refer to Kotari Shimogori, Director of PDN.

       R.     “RELEVANT TIME PERIOD” shall mean and refer to PDN’s first day of
processing DELORAZE payments through PDN’s last day of processing DELORAZE payments.

       S.     "5 IDENTIFIED TRANSACTIONS” shall mean and refer to the purported Visa
“Global Brand Protection Program” letters provided by PDN to DELORAZE reflecting the
following:

                    1. Case ID 26221 regarding merchant name “PocketGym”;

                    2. Case ID 26222 regarding merchant name “PocketGym”;

                    3. Case ID 26223 regarding merchant name “PocketGym”;

                    4. Case ID 26224 regarding merchant name “PocketGym”; and

                    5. Case ID 26228 regarding merchant name “PocketGym”.

      T.      The singular shall include the plural and the plural shall include the singular. The
 conjunctive “and” shall include the disjunctive “or” and the disjunctive “or” shall include the
 conjunctive “and.”

       U.       Each Document produced shall be produced as it is kept in the usual course of
 business (i.e., in the file folder or binder in which such Documents were located when the request
 was served) or shall be organized and labeled to correspond to the categories of Documents
 requested.

       V.       You are instructed to produce any and all Documents which are in your possession,
 custody or control. Possession, custody or control includes constructive possession whereby you
 have a right to compel the production of a matter from a third party (including an agency, authority
 or representative).

       W.       To the extent the location of any Document called for by this Exhibit is unknown to
 you, so state. If any estimate can reasonably be made as to the location of an unknown Document,
 describe the Document with sufficient particularity so that it can be identified, set forth your best
 estimate of the Document’s location and describe the basis upon which the estimate is made.

      X.      If any Document request is deemed to call for disclosure of proprietary data, counsel
 for movant is prepared to receive such data pursuant to an appropriate confidentiality order.

        Y.     To the extent the production of any Document is objected to on the basis of privilege,
 provide the following information about each such document: (1) describe the nature of the
 privilege claimed (e.g., attorney-client, work product, etc.); (2) state the factual and legal basis for
 the claim of such privilege (e.g., communication between attorney for corporation and outside
 counsel relating to acquisition of legal services); (3) identify each person who was present when




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the document was prepared and who has seen the Document; and (4) identify every other
Document which refers to or describes the contents of such Document.

      Z.      If any document has been lost or destroyed, the Document so lost or destroyed shall
be identified by author, date, subject matter, date of loss or destruction, identity of person
responsible for loss or destruction and, if destroyed, the reason for such destruction.




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                                   ITEMS TO BE PRODUCED



       1.       ALL COMMUNICATIONS with any individual or entity referring to, or relating
to payments owed or made to or for DELORAZE.

       2.       ALL DOCUMENTS concerning, referring to, or relating to any applications,
agreements, contracts, arrangements, understandings or confirmations – whether signed or unsigned

– with any bank, processor, other company or individual concerning, referring to, or relating to
payments made to or for DELORAZE.

       3.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to funds, or the whereabouts of any funds, received or controlled by PDN, AUTHPAY
or SHIMOGORI from any individual or entity – including but in no way limited to an acquiring

bank, processor, reseller, intermediary, merchant of record with the acquiring bank or otherwise –
that correspond or relate to any credit or debit card transactions relating to DELORAZE, including

any transactions of its underlying merchants.

       4.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or reflecting any debits - including but not limited to discount rates, chargebacks, chargeback fees,
refunds, fines, fees or penalties - corresponding to any DELORAZE transactions, including any

transactions of its underlying merchants.

       5.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to any reconciliation, statements or accounting of any merchant account or MID through
which any DELORAZE credit or debit transaction, including any transactions of its underlying

merchants, was processed.

       6.       ALL BANK RECORDS reflecting transfers to the PDN BUSINESS BANK

ACCOUNTS during the RELEVANT TIME PERIOD.




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       7.      DOCUMENTS sufficient to identify each bank, processor, other company or
individual from whom PDN received any funds remitted to the PDN BUSINESS BANK

ACCOUNTS during the RELEVANT TIME PERIOD.

       8.      ALL COMMUNICATIONS concerning, referring to or relating to transfers to the
PDN BUSINESS BANK ACCOUNTS during the RELEVANT TIME PERIOD.

       9.      ALL BANK RECORDS reflecting transfers to the AUTHPAY BUSINESS BANK
ACCOUNTS during the RELEVANT TIME PERIOD.

       10.     DOCUMENTS sufficient to identify each bank, processor, other company or
individual from whom PDN received any funds remitted to the AUTHPAY BUSINESS BANK
ACCOUNTS during the RELEVANT TIME PERIOD.

       11.     ALL COMMUNICATIONS concerning, referring to or relating to transfers to the
AUTHPAY BUSINESS BANK ACCOUNTS during the RELEVANT TIME PERIOD.

       12.     ALL COMMUNICATIONS between or among PDN and/or SHIMOGORI and/or
PDN REPRESENTATIVES and/or AUTHPAY during the RELEVANT TIME PERIOD.

       13.     ALL DOCUMENTS constituting any agreements, contracts, arrangements,

understandings or confirmations with PDN and/or SHIMOGORI and/or AUTHPAY.

       14.     ALL DOCUMENTS reflecting any transfer of funds – whether by wire transfer or

otherwise – to or from PDN, SHIMOGORI, and/or AUTHPAY from the date of the first transaction
for DELORAZE to present.

       15.     ALL COMMUNICATIONS with any individual or entity referring to, or relating
to payments owed or made to or for DELORAZE.

       16.     ALL DOCUMENTS concerning, referring to, or relating to any applications,
agreements, contracts, arrangements, understandings or confirmations-whether signed or unsigned-
with any bank, processor, other company or individual concerning, referring to, or relating to

payments made to or for DELORAZE.




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       17.       ALL DOCUMENTS concerning or relating to PDN or AUTHPAY’s processing of
any debit and/or credit card transactions for DELORAZE, PDN, A U T H P A Y a n d / o r

SHIMOGORI, during the RELEVANT TIME PERIOD.
       18.       ALL DOCUMENTS concerning or relating to the transfer of any funds
corresponding to any debit and/or credit card transaction for DELORAZE, PDN, A U T H P A Y

a n d / o r SHIMOGORI during the RELEVANT TIME PERIOD.
       19.       ALL COMMUNICATIONS concerning, referring to or relating to, PDN

BUSINESS BANK ACCOUNTS from January 1, 2023 to present.
       20.       ALL BANK RECORDS associated with PDN MERCHANT ACCOUNTS from
January 1, 2023 to present.

       21.       ALL DOCUMENTS concerning or related to any application and/or supporting
materials submitted to Equity Bank Limited for the purpose of opening any of the PDN

MERCHANT ACCOUNTS.
       22.       ALL COMMUNICATIONS concerning, referring to or relating to, AUTHPAY
BUSINESS BANK ACCOUNTS from January 1, 2023 to present.

       23.       ALL BANK RECORDS associated with AUTHPAY MERCHANT ACCOUNTS
from January 1, 2023 to present.

       24.       ALL DOCUMENTS concerning or related to any application and/or supporting
materials submitted to Equity Bank Limited for the purpose of opening any of the AUTHPAY

MERCHANT ACCOUNTS.

       25.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to or
relating to PDN's business bank account and/or merchant account with Equity Bank Limited,

including but not limited to PDN's merchant agreement, AUTHPAY’s merchant agreement,
documents relating to PDN and/or AUTHPAY's direct processing relationship with Equity Bank
Limited, and any agreements that reflect any fees and/or fines that would be passed to clients, such

as DELORAZE and DELORAZE’s underlying merchants, as the merchants of record.




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       26.       ALL DOCUMENTS, including COMMUNICATIONS, concerning, referring to,
or relating to any $25,000 Visa-related fees and/or fines relating to DELORAZE transactions during

the RELEVANT TIME PERIOD, including, but not limited any of the 5 IDENTIFIED
TRANSACTIONS.

       27.       ALL DOCUMENTS, including communications with and DOCUMENTS relating
to any other fines or fees assessed relating to Applicant's transactions, including, but not limited to
a purported $25,000 "Bank Fine" and $15,000 "Fee to the bank representative" claimed by PDN to

have been assessed as a result of the 5 IDENTIFIED TRANSACTIONS.




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                EXHIBIT “ ”
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